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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                         Case No. 8:19−bk−03528−RCT
                                                                               Chapter 7
Roosevelt TaByron Chambers
aka Byron Chambers



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On April 18, 2019 the above named Debtor filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

           All Schedules A through J and the Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were either not filed, filed incomplete or filed using outdated
           forms as follows: ***(Summary of Schedules, Schedules A−J Not Filed) ***. Pursuant to Fed. R.
           Bankr. P. 1007(b) and (c), the Debtor is directed to file the missing items with proper declaration of
           the Debtor no later than 14 days from the date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $31.00 amendment fee and provide proof of service of the Notice of Chapter 7
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.


           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Chapter 7 Statement of Your Current Monthly Income and Means−Test Calculation pursuant to
           Fed. R. Bankr. P. 1007 (b)(4)(5)(6) and 11 U.S.C § 521(a)(1)(B)(v) was not filed. The Debtor is
           directed to file a signed Statement of Your Current Monthly Income and Means−Test Calculation
           (Official Form B122A) within 14 days from the date the petition was filed. A link to updated forms is
           available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           A Statement of Intentions for Individuals Filing Under Chapter 7 was not signed, not filed, or filed
           on an outdated form. Pursuant to Fed. R. Bankr. P. 1007(b)(2) and 11 U.S.C § 521(a)(2)A), the
           Debtor is directed to file a Statement of Intentions for Individuals Filing Under Chapter 7 (Official
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Form B108), signed under penalty of perjury within 30 days. A link to updated forms is available on
the Court's website at http://www.flmb.uscourts.gov/forms/.

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: April 19, 2019                  Sheryl L. Loesch , Clerk of Court
                                        Sam M. Gibbons United States Courthouse
                                        801 North Florida Avenue, Suite 555
                                        Tampa, FL 33602


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
